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                                 I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                     F O R T H E DI S T RI C T O F M A R Y L A N D
                                             B A L TI M O R E DI VI SI O N

________________________________________
                                              )
D A VI D G. F EI N B E R G et al., a n d all ot h ers
                                              )
si mil arl y sit u at e d,                    )
                                              )
                        Pl ai ntiffs,         )
                                              )                                    Ci vil A cti o n N o. 1: 1 7- c v- 0 0 4 2 7-J K B
vs.                                           )
                                              )
T. R O W E P RI C E G R O U P, I N C. et al., )
                                              )
                        D ef e n d a nts.     )
________________________________________ )


                            [ P R O P O S E D] S TI P U L A T ED P R O T E C TI V E O R D E R

           Pl ai ntiffs D a vi d G. F ei n b er g, Re gi n a Wi d d eri c h, Jit es h J a ni, S it al J a ni, J a m es C olli ns,

F arr a h Q ur es hi, D a ni el N e w m a n, M ar i a St a nt o n, D a ni el Fi al k off, Mi c h ell e B o ur q u e, a n d

T h o m as H e nr y ( c oll e cti v el y, “ Pl ai ntiffs ”) a n d D ef e n d a nts T. R o w e Pri c e Gr o u p, I n c., T. R o w e

Pri c e Ass o ci at es, I n c., T. R o w e Pri c e Tr ust C o m p a n y, T. R o w e Pri c e Gr o u p, I n c. M a n a g e m e nt

C o m mitt e e, T. R o w e Pri c e Gr o u p, I n c . M a n a g e m e nt C o m p e ns ati o n C om mitt e e, C hrist o p h er D.

Al d ers o n, E d w ar d C. B er n ar d, Mi c h a el C. Gitli n, J a m es A. C. K e n n e d y, J o h n D. Li n e h a n, Bri a n

C. R o g ers, Willi a m J. Str o m b er g, Eri c L. V ei el, a n d E d w ar d A. W i es e ( c oll e cti v el y,

“ D ef e n d a nts ” a n d t o g et h er wit h P l ai ntiffs, t h e “ N a m e d P arti es ”), h a vi n g a gr e e d t o t h e e ntr y of a

pr ot e cti v e or d er p urs u a nt t o F e d er al R ul e of Ci vil Pr o c e d ur e 2 6 ( c), a n d h a vi n g a gr e e d t o t h e

t er ms h er ei n, a c c or di n gl y, it is O R D E R E D:


          1.         D efi niti o ns.

                     a.         As us e d i n t his Or d er, t h e t er m “ A cti o n ” s h all m e a n t h e a b o v e- c a pti o n e d

          liti g ati o n.
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           b.         As us e d i n t his Or d er, t h e w or d “ P art y, ” i n cl u di n g its us e i n a n y t er m ot h er

t h a n N a m e d P art y, s u c h as “ pro d u ci n g P art y, ” “ d esi g n ati n g P art y , ” “r e c ei vi n g P art y, ”

a n d “ c h all e n gi n g P art y, ” r ef ers t o t h e N a m e d P arti es, a n y e ntit y affili at e d wit h a N a m e d

P art y, a n d t hir d p arti es w h o m a y pr o d u c e dis c o v er a bl e m at eri al i n t his liti g ati o n.

           c.         As us e d i n t his Or d er, t h e t er m “ d o c u m e nt ” is i nt e n d e d t o b e

c o m pr e h e nsi v e a n d i n cl u d es a n y a n d all m at eri als i n t h e br o a d es t s e ns e c o nt e m pl at e d b y

R ul e 3 4 of t h e F e d er al R ul es of Ci vil Pr o c e d ur e, a n d s h all i n cl u d e all writt e n, or al,

r e c or d e d, or gr a p hi c m at eri al, h o w e v er pr o d u c e d or r e pr o d u c e d in cl u di n g, b ut n ot li mit e d

t o: all writt e n or pri nt e d m att er of a n y kin d, i n cl u di n g t h e or i gi n als a n d all n o n-i d e nti c al

c o pi es t h er e of, w h et h er diff er e nt fr o m t h e ori gi n als b y r e as o n of a n y n ot ati o n m a d e o n

s u c h c o pi es or ot h er wis e; el e ctr o ni c all y st or e d i nf or m ati o n, s o ft w ar e, a n d ot h er c o m p ut er

d at a i n cl u di n g, b ut n ot li mit e d t o, i nf or m ati o n st or e d i n a c o m p ut er at a n y ti m e; all

gr a p hi c or m a n u al r e c or ds or r e pr es e nt ati o ns of a n y ki n d i n cl u d i n g, b ut n ot li mit e d t o,

p h ot o gr a p hs, mi cr ofi c h e, mi cr ofil m , vi d e ot a p e, r e c or ds, a n d m oti o n pi ct ur es; el e ctr o ni c,

m e c h a ni c al, or el e ctri c r e c or ds   or r e pr es e nt ati o ns of a n y ki n d i n cl u di n g, b ut n ot li mit e d

t o, c ass ett es, dis cs, m a g n eti c c ar ds a n d r e c or di n gs, o pti c al a n d ot h er m e di a; a n d all dr afts,

alt er ati o ns, m o difi c ati o ns, c h a n g es, a n d a m e n d m e nts t o a n y of t h e f or e g oi n g.

           d.         As us e d i n t his Or d er, t h e t er m “ C o nfi d e nti al I nf or m ati o n ” m e a ns,

c o nsist e nt wit h F e d er al R ul e of Ci vil Pr o c e d ur e 2 6( c), a n y d o c um e nt, m at eri al or

i nf or m ati o n s u p pli e d i n a n y f or m, or a n y p orti o n t h er e of, w hi c h c o nt ai ns c o nfi d e nti al or

pr o pri et ar y b usi n ess, c o m m er ci al, r es e ar c h, p ers o n al, p ers o n n el , pr o c ess, pr o d u ct, or

fi n a n ci al i nf or m ati o n of t h e pr o d u ci n g P art y or n o n- p art y. B y w a y of e x a m pl e, a n d n ot

li mit ati o n, C o nfi d e nti al I nf or m ati o n i n cl u d es: dis c ussi o ns of b usi n ess o p er ati o ns,



                                                            2
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          pr o c ess es, a n d pr o c e d ur es; p ers o n a ll y i d e ntifi a bl e i nf or m ati o n s u c h as s o ci al s e c urit y

          n u m b ers; pr o pri et ar y s oft w ar e or s yst e ms; pr o pri et ar y e dits or c ust o mi z ati o ns t o

          s oft w ar e; pr o pri et ar y pr o d u ct i n f or m ati o n; m ar gi n, c ost, a n d pri ci n g i nf or m ati o n; tr a d e

          s e cr ets; c o nfi d e nti al r es e ar c h a n d a n al ysis; b o ar d m at eri als, d is c ussi o ns, a n d

          pr es e nt ati o ns; e x e c uti v e m e eti n g mi n ut es, m at eri als, dis c ussi o n s, a n d pr es e nt ati o ns;

          i nt er a cti o ns wit h g o v er n m e nt r eg ul at or y b o di es; n e g oti ati o n str at e gi es; i nf or m ati o n or

          d at a r el ati n g t o str at e gi c pl a ns; d at a r e c ei v e d fr o m a n o n- p art y p urs u a nt t o a c urr e nt N o n-

          Dis cl os ur e A gr e e m e nt; c o m m er ci al a gr e e m e nts; s ettl e m e nt n e g oti a ti o ns; a n d s ettl e m e nt

          a gr e e m e nts. A d esi g n ati o n b y a P art y or n o n- p art y of C o nfi d e nt i al I nf or m ati o n s h all

          c o nstit ut e a r e pr es e nt ati o n t o t h e C o urt t h at s u c h P art y or n o n - p art y b eli e v es i n g o o d f ait h

          t h at t h e i nf or m ati o n c o nstit ut es C o nfi d e nti al I nf or m ati o n. T h e p arti es a n d n o n- p arti es

          s h all m a k e a g o o d-f ait h eff ort t o d esi g n at e i nf or m ati o n o nl y as n e e d e d.

                     e.         As us e d i n t his Or d er, “ Pr ot e ct e d D o c u m e nts ” m e a ns D o c u m e nts a P art y

          h as d esi g n at e d as c o nt ai ni n g C o nfi d e nti al I nf or m ati o n e ntitl e d t o pr ot e cti o n u n d er t his

          Or d er.

          2.         D esi g n ati o n. U p o n d et er mi ni n g i n g o o d f ait h t h at a D o c u m e nt c o nt ai ns

C o nfi d e nti al I nf or m ati o n, a P art y m a y d esi g n at e a D o c u m e nt as a Pr ot e ct e d D o c u m e nt b y

pl a ci n g or affi xi n g t h e w or ds “ C O N FI D E N TI A L ” o n t h e D o c u m e nt a n d o n all c o pi es i n a

m a n n er t h at will n ot i nt erf er e wit h t h e l e gi bilit y of t h e D o c u me nt. T h e m ar ki n g

“ C O N FI D E N TI A L ” s h all b e a p pli e d pri or t o or at t h e ti m e t h e Pr ot e ct e d D o c u m e nt is pr o d u c e d

or dis cl os e d. A n y c o pi es t h at ar e m a d e of Pr ot e ct e d D o c u m e nts, i n cl u di n g el e ctr o ni c i m a g es,

d u pli c at es, e xtr a cts, s u m m ari es or d es cri pti o ns, s h all als o b e m ar k e d C O N FI D E N TI A L, e x c e pt

t h at i n di c es, el e ctr o ni c d at a b as es or lists of D o c u m e nts t h at d o n ot c o nt ai n s u bst a nti al p orti o ns or



                                                                      3
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i m a g es of t h e t e xt of Pr ot e cte d D o c u m e nts a n d d o n ot ot h er wis e dis cl os e t h e s u bst a n c e of t h e

C o nfi d e nti al I nf or m ati o n c o nt ai n e d t h er ei n ar e n ot r e q uir e d t o b e m ar k e d. T o t h e e xt e nt

att a c h m e nts t o d o c u m e nts c o nt ai ni n g C o nfi d e nti al I nf or m ati o n d o n ot c o nt ai n C o nfi d e nti al

I nf or m ati o n, t h e att a c h m e nt(s) s h all n ot b e d esi g n at e d C O N FI D E N TI A L.

          3.         D e p ositi o ns. U nl ess all P arti es a gr e e ot h er wis e o n t h e r e c or d at t h e ti m e t h e

d e p ositi o n t esti m o n y is t a k e n, all d e p ositi o n tr a ns cri pts a n d e x hi bits s h all b e tr e at e d as Pr ot e ct e d

D o c u m e nts u ntil f o urt e e n c al e n d ar d a ys f oll o wi n g d eli v er y of t h e fi n al v ersi o n of t h e tr a ns cri pt.

Wit hi n t his ti m e p eri o d, a P art y m a y s er v e a n oti c e of d esi g n at i o n t o all P arti es of r e c or d as t o t h e

p orti o ns of t h e tr a ns cri pts or e x hi bits t h at c o nt ai n C o nfi d e nti al I nf or m ati o n, a n d t h er e aft er o nl y

t h os e p orti o ns i d e ntifi e d i n th e n oti c e of d esi g n ati o n s h all b e tr e at e d as Pr ot e ct e d D o c u m e nts.

A n y t esti m o n y w hi c h d es cri b es a d o c u m e nt w hi c h h as b e e n d esi g n a t e d C O N FI D E N TI A L, as

d es cri b e d a b o v e, s h all als o b e d e e m e d t o b e d esi g n at e d C O N FI D E N TI A L.

          4.         Pr ot e cti o n of C o nfi d e nti al I nf or m ati o n.

                     a.         G e n er al Pr ot e cti o ns. E x c e pt as pr o vi d e d i n p ar a gr a p h ( 1 3), Pr ot e ct e d

          D o c u m e nts s h all n ot b e us e d or dis cl os e d b y t h e P arti es, c o u ns el f or t h e P arti es or a n y

          ot h er p ers o ns i d e ntifi e d i n s u b p ar a gr a p h ( b) f or a n y p ur p os e w h ats o e v er ot h er t h a n i n t his

          liti g ati o n, i n cl u di n g a n y a p p e al th er e of. Pr ot e ct e d D o c u m e nts m a y n ot b e dis cl os e d t o

          a n y ot h er m e m b er of t h e p ut ati v e cl ass ot h er t h a n t h e n a m e d Pl a i ntiffs. If a n o n- n a m e d

          Pl ai ntiff r e q u ests a c c ess t o Pr o t e ct e d D o c u m e nts, t h e P art y i n r e c ei pt of t h at r e q u est s h all

          n otif y t h e d esi g n ati n g P art y, w h o w ill d et er mi n e o n a c as e b y cas e b asis w h et h er t h e

          Pr ot e ct e d D o c u m e nts m a y b e dis c l os e d t o t h e n o n- n a m e d P art y. Pri or t o t h e n o n- n a m e d

          P art y’s r e c ei pt or r e vi e w of P r ot e ct e d D o c u m e nts, t h e n o n- n a m e d P art y m ust e x e c ut e

          Att a c h m e nt A.



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          b.            Li mit e d T hir d- P art y Dis cl os ur es . T h e N a m e d P arti es a n d c o u ns el f or t h e

N a m e d P arti es s h all n ot dis cl os e or p er mit t h e dis cl os ur e of a ny Pr ot e ct e d D o c u m e nts t o

a n y t hir d p ers o n or e ntit y e x c e pt as s et f ort h i n s u b p ar a gr a p hs (i) –( x) a n d i n p ar a gr a p h

( 1 3). S u bj e ct t o t h es e r e q uir e m ents, t h e f oll o wi n g c at e g ori es of p ers o ns m a y b e all o w e d

t o r e vi e w Pr ot e ct e d D o c u m e nts:

                   i.               C o u ns el. C o u ns el ( or pr os p e cti v e c o u ns el) f or t h e N a m e d P arti e s,

            i n cl u di n g i n- h o us e c o u ns el of an y N a m e d P art y, a n d e m pl o y e es of c o u ns el t o

            w h o m it is n e c ess ar y t h at t h e m at eri al b e s h o w n f or p ur p os es of t his liti g ati o n

            (i n cl u di n g b ut n ot li mit e d t o att orn e ys (i n cl u di n g c o ntr a ct att or n e ys r et ai n e d f or

            d o c u m e nt r e vi e w), p ar al e g als, s e cr et ari es, a n d l a w cl er ks);

                  ii.               N a m e d P arti es. N a m e d P arti es a n d e m pl o y e es of a N a m e d P art y,

            b ut o nl y t o t h e e xt e nt c o u ns el d et er mi n es i n g o o d f ait h t h at t he e m pl o y e e’s

            assist a n c e is r e as o n a bl y n e c ess ar y t o t h e c o n d u ct of t h e liti g a ti o n i n w hi c h t h e

            i nf or m ati o n is dis cl os e d;

                 iii.               T h e C o urt a n d its p ers o n n el;

                 i v.               C o urt R e p ort ers a n d R e c or d ers. A n y c o urt r e p ort er e m pl o y e d f or

            p ur p os es of d e p ositi o ns i n t his liti g ati o n, i n cl u di n g p ers o ns op er ati n g vi d e o

            r e c or di n g e q ui p m e nt at vi d e o d e p ositi o ns, as w ell as e m pl o y e es of c o p y c e nt ers,

            d o c u m e nt s c a n ni n g s er vi c es, or si mil ar c o ntr a ct ors us e d b y t h e N a m e d P arti es f or

            p ur p os es of r e pr o d u ci n g or m a n a g i n g D o c u m e nts pr o d u c e d i n c o n n ecti o n wit h

            t his liti g ati o n;

                   v.               D o c u m e nt C o ntr a ct ors. T h os e p ers o ns s p e cifi c all y e n g a g e d f or t h e

            li mit e d p ur p os e of m a ki n g c o pi es of D o c u m e nts or or g a ni zi n g or pr o c essi n g



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      D o c u m e nts, i n cl u di n g o utsi d e v e n d ors hir e d t o pr o c ess el e ctr o ni c all y st or e d

      D o c u m e nts;

           vi.             C o ns ult a nts a n d E x p erts. C o ns ult a nts, i n v esti g at ors, or e x p ert s

      ( a n d t h eir s u p p ort st aff) e m plo y e d or r et ai n e d b y t h e N a m e d P ar ti es or c o u ns el

      f or t h e N a m e d P arti es ( or pr os p ecti v e c o ns ult a nts, i n v esti g at or s, or e x p erts ( a n d

      t h eir s u p p ort st aff) c o nsi d er e d for e m pl o y m e nt or r et e nti o n) t o assist i n t h e

      pr e p ar ati o n a n d tri al of t his a cti o n, pr o vi d e d t h at t h e i n di vi d u al c o ns ult a nt,

      i n v esti g at or, or e x p ert t o w h o m Pr ot e ct e d D o c u m e nts ar e or will b e dis cl os e d:

      ( 1) h as b e e n r et ai n e d b y a P arty or c o u ns el t o s er v e as a n e x p e rt wit n ess or as a

      c o ns ult a nt i n t his a cti o n; ( 2) is n ot k n o w n t o b e r e g ul arl y e m pl o y e d or e n g a g e d

      b y a c urr e nt or pr os p e cti v e c o m p etit or of t h e P art y or n o n- p art y t h at d esi g n at e d

      t h e m at eri al;

          vii.             Wit n ess es at d e p ositi o ns, h e ar i n gs or tri al. D uri n g t h eir

      d e p ositi o ns, or h e ari n g or tri al e x a mi n ati o ns, wit n ess es i n t hi s a cti o n t o w h o m

      dis cl os ur e is r e as o n a bl y n e c ess ar y, w h o d o n ot f all u n d er s u bs e cti o ns ( b)(ii),

      ( b)( viii), or ( b)( x), a n d w h o h a v e or w o ul d h a v e h a d a c c ess t o t h e d o c u m e nt i n

      t h e or di n ar y c o urs e.     Wit n ess es s hall n ot r et ai n c o pi es of Pr ot e ct e d D o c u m e nts,

      e x c e pt wit n ess es m a y r e c ei v e a c o p y of all e x hi bits m ar k e d at t h eir d e p ositi o ns i n

      c o n n e cti o n wit h r e vi e w of t h e tr a ns cri pts. P a g es of tr a ns cri b e d d e p ositi o n

      t esti m o n y or e x hi bits t o d e p ositi o ns t h at ar e d esi g n at e d as c o nt ai ni n g

      C o nfi d e nti al I nf or m ati o n p urs u a nt t o t his Or d er m ust b e s e p ar atel y b o u n d b y t h e

      c o urt r e p ort er a n d m a y n ot b e dis cl os e d t o a n y o n e e x c e pt as p er mitt e d u n d er t his

      Or d er.



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                viii.             A ut h or or r e ci pi e nt. T h e a ut h or or r e ci pi e nt of t h e Pr ot e ct e d

            D o c u m e nt ( n ot i n cl u di n g a p ers o n w h o r e c ei v e d t h e Pr ot e ct e d D o c u m e nt i n t h e

            c o urs e of liti g ati o n);

                  i x.            A n y m e di at or, ar bitr at or, or ot h e r dis p ut e r es ol uti o n pr of essi on al

            w h o is assi g n e d t o h e ar t his m att er, a n d his or h er st aff; a n d

                   x.             Ot h ers b y C o ns e nt. Ot h er p ers o ns o nl y b y writt e n c o ns e nt of t h e

            pr o d u ci n g P art y or u p o n or d er of t h e C o urt a n d o n s u c h c o n diti ons as m a y b e

            a gr e e d or or d er e d.

           c.           B ef or e a c q uiri n g a c c ess t o a n y of t h e Pr ot e ct e d D o c u m e nts or t h e

i nf or m ati o n c o nt ai n e d t h er ei n, e a c h p ers o n d es cri b e d i n p ar a gr ap hs 4( b)(i v)-( vi), 4( b)(i x)-

( x), a n d a n y pr os p e cti v e c o u ns el wit hi n t h e s c o p e of p ar a gr a p h 4( b)(i), a b o v e s h all b e

a d vis e d of t h e t er ms of t his Pr ot e cti v e Or d er, a n d e a c h n o n- p ar t y wit n ess c o v er e d b y

4( b)( vii), s h all b e gi v e n a c o p y of t his Pr ot e cti v e Or d er, a n d s h all a gr e e i n writi n g, b y

c o m pl eti n g t h e c ertifi c ati o n c o nt ai n e d i n t h e “ A c k n o wl e d g e m e nt a n d A gr e e m e nt t o B e

B o u n d ” ( Att a c h m e nt A) a c c o m p a n yi n g t his Pr ot e cti v e Or d er, t o b e b o u n d b y its t er ms

a n d t o s u b mit t o t h e j uris di cti o n of t his C o urt. C o u ns el s h all r et ai n t h e ori g i n al c o pi es of

e x e c ut e d A c k n o wl e d g m e nt f or ms a n d n e e d n ot dis cl os e w h o h as e x e c ut e d t h e m d uri n g

t h e c o urs e of t his A cti o n, u nl ess a dis p ut e aris es as t o t h e di ss e mi n ati o n of C o nfi d e nti al

I nf or m ati o n t o p ers o ns ot h er t h a n t h os e i d e ntifi e d as a ut h ori z ed u n d er t his Or d er.

           d.           C o ntr ol of Pr ot e ct e d D o c u m e nts. C o u ns el f or t h e N a m e d P arti es s h all

a d o pt fir e w alls, a c c ess c o d es, e n cr y pti o n, or ot h er r e as o n a bl e s e c urit y m e as ur es t o

pr e v e nt u n a ut h ori z e d or i n a d v ert e nt a c c ess or dis cl os ur e of Pr o t e ct e d D o c u m e nts or t h e

i nf or m ati o n c o nt ai n e d t h er ei n. If a P art y l e ar ns t h at, b y i n a d v ert e n c e or ot h er wis e, it h as



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          dis cl os e d Pr ot e ct e d D o c u m e nts t o a n y p ers o n or i n a n y cir c u mst an c e n ot a ut h ori z e d

          u n d er t his Or d er, t h e P art y m us t pr o m ptl y ( 1) n otif y i n writi n g t h e d esi g n ati n g P art y of

          t h e u n a ut h ori z e d dis cl os ur e; ( 2) us e its b est eff orts t o r etri ev e all c o pi es of t h e Pr ot e ct e d

          D o c u m e nts; ( 3) i nf or m t h e p ers o n or p ers o ns t o w h o m u n a ut h ori z e d dis cl os ur es w er e

          m a d e of all t h e t er ms of t his Or d er; a n d ( 4) r e q u est t h at s u c h p ers o n or p ers o ns e x e c ut e

          t h e “ A c k n o wl e d g m e nt a n d A gr e e m e nt t o B e B o u n d ” ( Att a c h m e nt A) ac c o m p a n yi n g t his

          Or d er. C o u ns el s h all m ai nt ai n t h e ori gi n als, or s c a n n e d or f a c si mil e v ersi o ns, of t h e

          f or ms si g n e d b y p ers o ns a c k n o wl e d gi n g t h eir o bli g ati o ns u n d er this Or d er f or a p eri o d of

          t hr e e y e ars aft er t h e t er mi n ati o n of t h e c as e.

          5.         F ail ur e t o D esi g n at e. A f ail ur e t o d esi g n at e a Pr ot e ct e d D o c u me nt d o es n ot w ai v e

t h e ri g ht t o s o d esi g n at e t h e D o cu m e nt; n or s h all it b e d e e m e d a w ai v er i n w h ol e or i n p art of a

P art y’s cl ai m of c o nfi d e nti alit y, eit h er as t o t h e s p e cifi c i nf or m ati o n dis cl os e d or as t o a n y ot h er

i nf or m ati o n r el ati n g t h er et o or o n t h e s a m e or r el at e d s u bj e ct m att er. If a P art y d esi g n at es a

Pr ot e ct e d D o c u m e nt aft er it w as i niti all y pr o d u c e d, t h e r e c ei vi n g P art y, o n n otifi c ati o n of t h e

d esi g n ati o n, m ust m a k e a r e as o n a bl e eff ort t o ass ur e t h at t h e D o c u m e nt is tr e at e d i n a c c or d a n c e

wit h t h e pr o visi o ns of t his Or d er. N o P art y s h all b e f o u n d t o h a v e vi ol at e d t his Or d er f or f aili n g

t o m ai nt ai n t h e c o nfi d e nti alit y of a D o c u m e nt d uri n g a ti m e w h en it h as n ot b e e n d esi g n at e d a

Pr ot e ct e d D o c u m e nt, e v e n w h er e t h e f ail ur e t o s o d esi g n at e w as i n a d v ert e nt a n d w h er e t h e

m at eri al is s u bs e q u e ntl y d esi g n at e d a Pr ot e ct e d D o c u m e nt.

          6.         Fili n g of Pr ot e ct e d D o c u m e nts. T o t h e e xt e nt t h at a n y m at eri al s s u bj e ct t o t his

C o nfi d e nti alit y Or d er ( or a n y pl e a di n g, m oti o n, or m e m or a n d u m d is cl osi n g t h e m) ar e pr o p os e d

t o b e fil e d or ar e fil e d wit h t h e C o urt, t h os e m at eri als a n d p ap ers, or a n y p orti o n t h er e of w hi c h

dis cl os es c o nfi d e nti al i nf or m a ti o n, s h all b e fil e d u n d er s e al (b y t h e fili n g P art y) wit h t h e Cl er k of



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t h e C o urt wit h a si m ult a n e o us m oti o n p urs u a nt t o L. R. 1 0 4. 1 3( c) ( h er ei n aft er t h e “I nt eri m

S e ali n g M oti o n ”), i n a c c or d a n c e wit h t h e c urr e nt v ersi o n of t h e    C o urt’s El e ctr o ni c Fili n g

R e q uir e m e nts a n d Pr o c e d ur es f or Ci vil C as es. T h e I nt eri m S e ali n g M oti o n s h all b e g o v er n e d b y

L. R. 1 0 5. 1 1. E v e n if t h e fili n g P art y b eli e v es t h at t h e m at eri als s u bj e ct t o t h e C o nfi d e nti alit y

Or d er ar e n ot pr o p erl y cl assifi e d as c o nfi d e n ti al, t h e fili n g P art y s h all fil e t h e I nt eri m S e ali n g

M oti o n; pr o vi d e d, h o w e v er, t h at t h e fili n g of t h e I nt eri m S e ali n g M oti o n s h all b e w h oll y wit h o ut

pr ej u di c e t o t h e fili n g P art y’s r i g hts u n d er p ar a gr a p h ( 8) of this C o nfi d e nti alit y Or d er.

          7.         Ri g ht t o Ass ert Ot h er O bj e cti o ns . B y sti p ul ati n g t o t h e e ntr y of t his Or d er, n o

N a m e d P art y w ai v es a n y ri g ht it ot h er wis e w o ul d h a v e t o o bj e ct t o dis cl osi n g or pr o d u ci n g a n y

i nf or m ati o n or it e m o n a n y gr o u n d n ot ad dr ess e d i n t his Or d er.         Si mil arl y, n o N a m e d P art y

w ai v es a n y ri g ht t o o bj e ct o n a n y gr o u n d t o us e i n e vi d e n c e of a n y of t h e m at eri al c o v er e d b y

t his Or d er.

          8.         C h all e n g es b y a P art y t o D esi g n ati o n as C o nfi d e nti al I nf or m ati o n. A P art y m a y at

a n y ti m e, i n g o o d f ait h, o bj e ct t o t h e d esi g n ati o n of a n y d o c u m e nt or s p e cifi c i nf or m ati o n as

C o nfi d e nti al I nf or m ati o n b y st ati n g its o bj e cti o n i n writi n g, w hi c h s p e cifi es ( b y B at es n u m b er)

t h e d o c u m e nt or i nf or m ati o n c h alle n g e d a n d i n cl u d es a st at e m e nt of t h e l e g al or f a ct u al b asis f or

e a c h o bj e cti o n t o t h e P art y or n o n- p art y m a ki n g t h e d esi g n ati o n . F urt h er m or e, it s h all m a k e a

g o o d-f ait h eff ort t o r es ol v e t h e dis p ut e wit h c o u ns el f or t h e P art y or n o n- p art y s o d esi g n ati n g t h e

d o c u m e nt or i nf or m ati o n. If t h e P arti es c a n n ot r e a c h a gr e e m e nt as t o t h e d esi g n ati o n, t h e

r e c ei vi n g P art y or o bj e ct or m a y fil e a m oti o n c h all e n gi n g t h e desi g n ati o n of t h e d o c u m e nt or

i nf or m ati o n as C o nfi d e nti al I nf or m ati o n. T h e b ur d e n of pr o vi n g t h e c o nfi d e nti alit y of

d esi g n at e d i nf or m ati o n r e m ai ns wit h t h e P art y ass erti n g s u c h c o nfi d e nti alit y. T h e pr o visi o ns of

F e d. R. Ci v. P. 3 7( a)( 5) a p pl y t o s u c h m oti o n. U ntil t h e c o urt r ul es o n t h e m oti o n, all P arti es



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s h all c o nti n u e t o tr e at t h e m at eri als as a Pr ot e ct e d D o c u m e nt u n d er t h e t er ms of t his Or d er. I n

t h e e v e nt t h at t h e fi n al r uli n g is t h at t h e c h all e n g e d m at eri al is n ot c o nfi d e nti al, t h e d esi g n ati n g

P art y s h all r e pr o d u c e c o pi es of a ll m at eri als wit h t h eir d esi g n ati o ns r e m o v e d wit hi n t hirt y d a ys

of s u c h r uli n g at t h e e x p e ns e of t h e d esi g n ati n g P art y.

           9.         A cti o n b y t h e C o urt. A p pli c ati o ns t o t h e C o urt f or a n or d er r e l ati n g t o t h e

d esi g n ati o n of a Pr ot e ct e d D o c u m e nt s h all b e b y m oti o n. N ot hi n g i n t his Or d er or a n y a cti o n or

a gr e e m e nt of a P art y u n d er t his Or d er li mits t h e C o urt’s p o w er t o m a k e or d ers c o n c er ni n g t h e

dis cl os ur e of d o c u m e nts pr o d u c e d i n dis c o v er y or at tri al.

           1 0.       C o nfi d e nti al I nf or m ati o n S u b p o e n a e d or Or d er e d Pr o d u c e d i n Ot h e r Liti g ati o n.

                      a.          If a r e c ei vi n g P arty is s er v e d wit h a s u b p o e n a or a n or d er iss u e d i n ot h er

           liti g ati o n t h at w o ul d c o m p el dis cl os ur e of a n y Pr ot e ct e d D o c u m ent, t h e r e c ei vi n g P art y

           m ust s o n otif y t h e d esi g n ati n g P art y, i n writi n g, i m m e di at el y a n d i n n o e v e nt m or e t h a n

           t hr e e b usi n ess d a ys aft er r e c ei vi n g t h e s u b p o e n a or or d er. S u ch n otifi c ati o n m ust i n cl u d e

           a c o p y of t h e s u b p o e n a or c o urt or d er.

                      b.          T h e r e c ei vi n g P art y als o m ust i m m e di at el y i nf or m i n writi n g t h e p art y

           w h o c a us e d t h e s u b p o e n a or or d er t o iss u e i n t h e ot h er liti g atio n t h at s o m e or all of t h e

           m at eri al c o v er e d b y t h e s u b p o e n a or   or d er is t h e s u bj e ct of t his Or d er. I n a d diti o n, t h e

           r e c ei vi n g P art y m ust d eli v er a c o p y of t his Or d er pr o m ptl y t o th e p art y i n t h e ot h er a cti o n

           t h at c a us e d t h e s u b p o e n a t o iss u e.

           1 1.       Ri g ht t o F urt h er R eli ef. N ot hi n g i n t his Or d er a bri d g es t h e ri g ht of a n y P art y t o

s e e k its m o difi c ati o n b y t h e C o urt i n t h e f ut ur e.

           1 2.       Fi n al Dis p ositi o n. U nl ess ot h er w is e or d er e d or a gr e e d i n writin g b y t h e

pr o d u ci n g P art y, wit hi n si xt y d a ys aft er t h e fi n al t er mi n ati o n of t his a cti o n, i n cl u di n g a n y



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a p p e als, e a c h r e c ei vi n g P art y m us t r et ur n or d estr o y all Pr ot e ct e d D o c u m e nts, i n cl u di n g all

c o pi es, a bstr a cts, c o m pil ati o ns , s u m m ari es or a n y ot h er f or m of r e pr o d u ci n g or c a pt uri n g

i nf or m ati o n i n t h e Pr ot e ct e d D o cu m e nt, t o t h e pr o d u ci n g P art y.     W h et h er t h e Pr ot e ct e d

D o c u m e nts ar e r et ur n e d or d estr o y e d, t h e r e c ei vi n g P art y m ust s u b mit a writt e n c ertifi c ati o n t o

t h e pr o d u ci n g P art y ( a n d, if n ot t h e s a m e p ers o n or e ntit y, t o t h e d esi g n ati n g P art y) b y t h e si xt y-

d a y d e a dli n e t h at i d e ntifi es ( b y c at e g or y, w h er e a p pr o pri at e) all t h e Pr ot e ct e d D o c u m e nts t h at

w er e r et ur n e d or d estr o y e d a n d t h a t affir ms t h at t h e r e c ei vi n g P art y h as n ot r et ai n e d a n y c o pi es,

a bstr a cts, c o m pil ati o ns, s u m m ari es or ot h er f or ms of r e pr o d u ci n g or c a pt uri n g a n y of t h e

Pr ot e ct e d D o c u m e nts. N ot wit hst a n di n g t his pr o visi o n, c o u ns el a r e e ntitl e d t o r etai n a n ar c hi v al

c o p y of a n y Pr ot e ct e d D o c u m e nts t h at c o u ns el r e as o n a bl y b eli e v es is n e c ess ar y t o c o m pl y wit h

a n y a p pli c a bl e att or n e y dis ci pli n ar y r ul es, as w ell as a n ar c hi v al c o p y of all pl e a di n gs, m oti o n

p a p ers, tr a ns cri pts, l e g al m e m or a n d a, c orr es p o n d e n c e or att or n e y w or k pr o d u ct, e v e n if s u c h

m at eri als c o nt ai n Pr ot e ct e d D o c u m e nts. A n y s u c h ar c hi v al c o pi e s t h at c o nt ai n or c o nstit ut e

Pr ot e ct e d D o c u m e nts r e m ai n s u bj e ct t o t his Sti p ul at e d Pr ot e cti v e Or d er u ntil t h e d esi g n ati n g

P art y a gr e es ot h er wis e i n writi n g or t his Co urt or d ers ot h er wis e. T h e Cl er k of t h e C o urt m a y

r et ur n t o c o u ns el f or t h e P arti es, or d estr o y, a n y s e al e d m at eri al at t h e e n d of t h e liti g ati o n,

i n cl u di n g a n y a p p e als.

           1 3.       N ot hi n g i n t his Or d er is i nt e n d e d t o li mit a pr o d u ci n g P art y’s us e, dis cl os ur e, or

c o m m u ni c ati o n of its o w n C o nfi d e n ti al I nf or m ati o n, n or t o pr e v ent t h e d esi g n ati n g P art y fr o m

dis cl osi n g t o a n y p ers o n a Pr ot e c t e d D o c u m e nt n ot ot h er wis e d esi g n at e d c o nfi d e nti al b y a n y

ot h er P art y. S u c h dis cl os ur es s h all n ot aff e ct a n y d esi g n ati o n of c o nfi d e nti alit y m a d e p urs u a nt t o

t h e t er ms of t his Or d er, s o l o n g as t h e dis cl os ur e is m a d e i n a m a n n er r e as o n a bl y c al c ul at e d t o

m ai nt ai n t h e c o nfi d e nti alit y of t h e i nf or m ati o n.



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 P R O D U C TI O N O F P RI VI L E G E D, P R O T E C T E D, O R O T H E R M A T E RI A L I M M U N E
                                        F R O M DI S C O V E R Y

           1 4.       P urs u a nt t o F e d er al R ul e of E vi d e n c e 5 0 2( d), t h e pr o d u cti o n or dis cl os ur e of a

d o c u m e nt c o nt ai ni n g m at eri al s u bj e ct t o a cl ai m of pri vil e g e or pr ot e cti o n ( c olle cti v el y i n t his

s e cti o n, “ pri vil e g e ” or “ pri vil e g e d ” m at eri al) s h all n ot c o nsti t ut e a w ai v er i n t his or a n y ot h er

f e d er al or st at e pr o c e e di n g of a n y pri vil e g e a p pli c a bl e t o t h at d o c u m e nt or t h e m at eri al c o nt ai n e d

i n t h at d o c u m e nt.

           1 5.       F e d er al R ul e of Ci vil Pr o c e d ur e 2 6( b)( 5)( B) s h all g o v er n a n y pr o d u cti o n of

m at eri als s u bj e ct t o a cl ai m o f pri vil e g e. I n n otif yi n g t h e r ec ei vi n g P art y of t h e pri vil e g e cl ai m,

t h e pr o d u ci n g P art y s h all i d e ntif y t h e d o c u m e nt(s) s u bj e ct t o th e pri vil e g e cl ai m b y B at es r a n g e

w h e n e v er p ossi bl e. N o l at er t h a n t e n b usi n ess d a ys aft er r e c ei vi n g s u c h n oti c e, t h e r e c ei vi n g

P art y s h all c ertif y i n writi n g t h at it h as r et ur n e d, d estr o y e d, or ot h er wis e s e q u ester e d all c o pi es or

v ersi o ns of t h e d o c u m e nts r e q u e st e d t o b e r et ur n e d, s e q u est er e d , or d estr o y e d a n d t h at t h e

r e c ei vi n g P art y s h all n ot att em pt t o us e s u c h d o c u m e nts wit h o ut f urt h er or d er of t h e C o urt

p er mitti n g s u c h a cti vit y.

                                                            *          *          *


           1 6.       Ti m e P eri o ds. N ot hi n g c o nt ai n e d i n t his Or d er s h all aff e ct t h e a bilit y of t h e

p arti es t o alt er t h e ti m e p eri o ds s et f ort h i n t his Or d er b y a g r e e m e nt.

           1 7.       P ers o ns B o u n d. T his Or d er s h all t a k e eff e ct w h e n e nt er e d a n d s h all b e bi n di n g

u p o n all c o u ns el of r e c or d a n d t h eir l a w fir ms, t h e p arti es, a nd t h e p arti es’ a n d t h eir att or n e ys’

s u c c ess ors, e x e c ut ors, p ers o n al r e pr es e nt ati v es, a d mi nistr at ors , h eirs, l e g al r e pr es e nt ati v es,

assi g n e es, s u bsi di ari es, di visi o n s, e m pl o y e es, a g e nts, i n d e p e n d e nt c o ntr a ct ors, or ot h er p ers o ns

or or g a ni z ati o ns o v er w hi c h t h e y h a v e c o ntr ol.



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           1 8.       N ot E x cl usi v e. A n y p ers o n r e q uiri n g f urt h er c o nfi d e nti alit y pr ot e cti o n m a y

p etiti o n t h e C o urt f or a s e p ar at e or d er g o v er ni n g dis cl os ur e of its i nf or m ati o n.

           1 9.       F ail ur e t o C o m pl y. F ail ur e t o c o m pl y wit h a n y pr o visi o n of t hi s Or d er s h all

s u bj e ct t h e n o n- c o m pl yi n g P ar t y, n o n- c o m pl yi n g c o u ns el a n d/ or th e P art y s u c h c o u ns el

r e pr es e nts t o a n y a n d all a p pr o pri at e r e m e di es, s a n cti o ns a n d t h e li k e, a n d/ or a n y ot h er r eli ef t h at

t his C o urt m a y fr o m ti m e t o ti m e d e e m a p pr o pri at e.

           2 0.       C o nti n ui n g O bli g ati o ns. T h e pr o vi si o ns of t his Or d er s h all s urvi v e t h e c o n cl usi o n

of t h e A cti o n.

           R es p e ctf ull y s u b mitt e d,

 B y: /s/ J a m es A. M o or e                                              B y: /s/ S h a n n o n M. B arr ett
 J a m es A. M o or e ( a d mitt e d pr o h a c vi c e )                    S h a n n o n M. B arr ett
 Mi k a el N e vill e ( U S D C D. M d B ar N o. 1 9 8 5 5)                 Bri a n D. B o yl e ( pr o h a c vi c e )
 M C TI G U E L A W L L P                                                   Gr e g or y F. J a c o b ( D. M d. B ar N o. 0 6 7 6 9)
 4 5 3 0 Wis c o nsi n A v e., N W, St e. 3 0 0                             S h a n n o n M. B arr ett ( D. M d. B ar N o.
 W as hi n gt o n, D C 2 0 0 1 6                                            1 6 4 1 0)
 T el: ( 2 0 2) 3 6 4- 6 9 0 0                                              D e a n n a M. Ri c e ( pr o h a c vi c e )
 F a x: ( 2 0 2) 3 6 4- 9 9 6 0                                             O’ M E L V E N Y & M Y E R S L L P
 j m o or e @ m cti g u el a w. c o m                                       1 6 2 5 E y e Str e et, N. W.
 m n e vill e @ m cti g u el a w. c o m                                     W as hi n gt o n, D. C. 2 0 0 0 6
                                                                            T el e p h o n e: ( 2 0 2) 3 8 3- 5 3 0 0
 B y: /s/ S c ott M. L e m p ert                                            F a csi mil e: ( 2 0 2) 3 8 3- 5 4 1 4
 C O H E N MI L S T EI N S E L L E R S & T O L L,                           b b o yl e @ o m m. c o m
 PLLC                                                                       gj a c o b @ o m m. c o m
 K ar e n L. H a n d orf ( a d mitt e d pr o h a c vi c e )                 s b arr ett @ o m m. c o m
 S c ott M. L e m p ert ( a d mitt e d pr o h a c vi c e )                  d eri c e @ o m m. c o m
 J a mi e B o w ers ( a d mitt e d pr o h a c vi c e )
 1 1 0 0 N e w Y or k A v e n u e, N. W.                                    J effr e y A. N. K o p c z y ns ki ( pr o h a c vi c e
 S uit e 5 0 0, W est T o w er                                              p e n di n g )
 W as hi n gt o n, D. C. 2 0 0 0 5                                          O’ M E L V E N Y & M Y E R S L L P
 T el: ( 2 0 2) 4 0 8- 4 6 0 0                                              Ti m es S q u ar e T o w er
 F a x: ( 2 0 2) 4 0 8- 4 6 9 9                                             7 Ti m es S q u ar e
 k h a n d orf @ c o h e n milst ei n. c o m                                N e w Y or k, N e w Y or k 1 0 0 3 6
 sl e m p ert @ c o h e n milst ei n. c o m                                 T el e p h o n e: ( 2 1 2) 3 2 6- 2 0 0 0
 j b o w ers @ c o h e n milst ei n. c o m                                  F a csi mil e: ( 2 1 2) 3 2 6- 2 0 6 1
                                                                            j k o p c z y ns ki @ o m m. c o m
 C o u ns el f or Pl ai ntiffs
                                                                            Att or n e ys f or D ef e n d a nts

                                                                      13
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                                                       Att a c h m e nt A



                                I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                    F O R T H E DI S T RI C T O F M A R Y L A N D
                                            B A L TI M O R E DI VI SI O N

________________________________________
                                                      )
D A VI D G. F EI N B E R G et al., a n d all ot h ers )
si mil arl y sit u at e d,                            )
                                                      )
                           Pl ai ntiffs,              )
                                                      )                      Ci vil A cti o n N o. 1: 1 7- c v- 0 0 4 2 7-J K B
vs.                                                   )
                                                      )
T. R O W E P RI C E G R O U P, I N C. et al.,         )
                                                      )
                           D ef e n d a nts.          )
________________________________________ )


                    A C K N O WLE D GE ME NT A N D A G REE ME NT T O BE B O U N D

         I C E R TI F Y T H A T I H A V E R E C EI VE D A C O P Y O F T H E S TI P U L A T E D
P R O T E C TI V E O R D E R D A T E D _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, 2 0 1 9 ( “ O R D E R ”).

        I F U R T H E R C E R TI F Y T H A T I H A V E RE A D O R A M O T H E R WI S E F A MI LI A R
WI T H A N D U N D E R S T A N D T H E C O N T E N T S O F T HI S O R D E R.

            I U N D E R S T A N D A N D A G R E E T O C O M P L Y WI T H T H E S T A N D A R D S A N D
P   R O C E D U R E S W HI C H A R E S E T F O R T H I N T H E O R D E R. I U N D E R S T A N D T H A T
C   O M P LI A N C E WI T H T H E S E S T A N D A R D S A N D P R O C E D U R E S I S A C O N DI TI O N O F
R   E C EI P T O F C O N FI D E N TI A L M A T E RI A L A N D T H A T A F AI L U R E T O C O M P L Y M A Y
C   O N S TI T U T E C O N T E M P T O F T H E C O U R T A N D/ O R A VI O L A TI O N O F A P P LI C A B L E
L   A W S. I A G R E E T O C O N S E N T T O J U RI S DI C TI O N O F T HI S C O U R T F O R T H E
P   U R P O S E O F E N F O R CI N G T HI S O R D E R.

            D A T E: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                  N A M E ( P RI N T): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

                                                                       A D D R E S S: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

                                                                     T E L E P H O N E: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

                                                                      SIG N A T U R E: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
